
By the Court.—Dugro, J.
If the referee erred in finding that the agreement in question was that the plaintiff should be paid when his orders were delivered to the defendants, and accepted by them, he only erred in finding that an acceptance of the orders by the defendants was part of the agreement, and such an error could not prejudice the defendants.
There is evidence which will sustain a finding that the orders were accepted.
The witness Rowland states that the only difference between an order and a good order is that the latter must be accepted by the house, and that an order becomes a good order as soon as the house receives it and enters it on the books.
It follows that an order which has been received and entered on the books is one that has been accepted. There is evidence that the orders were received and entered on the books.
Upon the whole case the judgment should be affirmed.
Gildersleeve, J., concurred, Sedgwick, Ch. J., not voting.
